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                                 UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA

                                     CIVIL MINUTES -- GENERAL

Case No.        CV 22-4355-JFW(JEMx)                                              Date: July 20, 2023

Title:          Yuga Labs, Inc. -v- Ripps, et al.

PRESENT:
               HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

                Shannon Reilly                                 None Present
                Courtroom Deputy                               Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                      ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                   None

PROCEEDINGS (IN CHAMBERS):                  ORDER REGARDING OBJECTIONS TO
                                            DECLARATIONS

        In the unlikely event that there are objections to the witness declarations (Docket Nos. 337,
338, 339, 340, 341, 342, 344, 345, and 346) filed by the parties on July 23, 2023, the Court orders
lead counsel for the parties to meet and confer in person and resolve the objections to the
declarations. After the conference, in lieu of filing a reply or response to the objections as required
by the Court’s Civil Trial Order,1 counsel shall file, on or before July 25, 2023, at 10:00 a.m., a
joint statement, advising the Court that all of the objections to the testimony of live witnesses have
been resolved. In the unlikely event, that the parties cannot resolve all of the objections to the
testimony of live witnesses, the parties shall file, on or before July 25, 2023, at 10:00 a.m., a
separate joint statement for each live witness in the format set forth below.

         The format for the joint statements shall be as follows:

              JOINT STATEMENT RE: OBJECTIONS TO WITNESS DECLARATIONS

      The parties were able to resolve the objections as to the following testimony: [name of
witness, Declaration paragraph and line].




         1
         See Civil Trial Order (Docket No. 284) at § 6(a) ("Counsel shall file any reply or response
to the objections by noon on the fifth calendar day before trial")

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      The parties were not able to resolve the objections as to the following testimony:

       Disputed Testimony [name of witness, declaration paragraph and line, followed by quote
of the disputed testimony]

       Plaintiffs’/Defendant’s Grounds for the Objection: [Cite the basis for the objection and
the argument as set forth in the objections filed on July 23, 2023].

      Plaintiffs’/Defendant’s Response to the Objection:


      IT IS SO ORDERED.




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